 

Wauwatosa Police Department

Continuation

 

Incident Report Number | Incident Location:

20-015259

N 70 St/Aetna Ct,

 

Wauwatosa,

WI,

53213

Incident Date:

08/14/2020

 

 

women.

video,

hair.

mark,

Mara P Kachelski,

During these incidents,
49ers jersey and black baseball hat.

tall, JJ pounds, —eyes anc QJ hair.

John Larry was issued a Municipal Citation for Disorderly Conduct / Disturbing
the Peace.

shins during the protest.

leave the scene.

bandana used as a face mask,
cross necklace,

A review of Joseph Hayes'

Hayes states
what we did up there".
just giving them evidence".

from crossing the skirmish line.
he becomes upset and accuses Officer Patnode-Fonseca of putting his hands on

Larry is standing there and

Kachelski and at least 2 other protestors try to calm Larry as he gets

Disorderly Conduct by Joseph Hayes

Officer Finley described in his report that Joseph S Hayes Gp / Bsc)
challenged him to fight.

Facebook live

more agitated stating "Put your hands on me!
the same thing you did to her, do it,

" tall,

Disorderly Conduct / Obstructing by Crystal Carreon
Officer Yandre described in his report a female who was kicking him in the
Based on her description and after viewing the
I identified this female to be Crystal Carreon (
is on Squad P241 video from 19:31-19:36 blocking in the squad so it could not
The video also shows Officer Yandre attempting to clear the
protestors from in front of the squad and the group pushing back at him.
Carreon is actively resisting Officer Yandre's attempt to clear the area around
the squad.

Put your hand on me! Go ahead. Do
I'm waiting on you", "I'm not playing",
and “look up my address 4546 N 110 St, come looking for me. Come surround my
house".

John Larry is wearing a red number 7 San Francisco
Larry's DOT record shows him to be mi

a. 01/fs3). Carreon

During this incident, Carreon is wearing a black t-shirt, dark pants, a blue
a dark handkerchief tied around her left wrist,
aviator style sung es, and hair back in a ponytail.
Carreon's DOT file shows her to be i

pounds, [Jeyes and a

Crystal Carreon will be issued a Municipal Citation for Disorderly Conduct /
Disturbing the Peace / Obstructing Police.

(under name Braxton Ivan), shows that
Hayes made numerous threats to officers throughout the protest. At the 7:15
"They want us to do what we did to Mensah.... hey they know
A female then tells Hayes "don't

speak on that you're

At 13:50 mark, while Hayes is yelling at Officer Finley, Hayes says "take them
clothes off and lets go one on one" and "if I beat you that proves this is not

 

 

 

for you".
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At 19:50 mark, Hayes is talking to Officer Klett and Hayes states "I bet if you
take off them clothes and go one on one, and if I beat you, you not supposed to
be wearing that suit”.

At 20:17 mark, the video captures John Larry getting threatening towards Lt.
Farina and Hayes is yelling "yeah yeah yeah" in encouragement of Larry.

At 30:18 mark, Hayes is standing in front of Officers Patnode-Fonseca and
Opelt, and he again says “if they take them uniforms off, I bet I can beat
you". This is also captured on Officer Patnode-Fonseca's bodycam at 33:51
mark.

t 31:37 mark, Hayes states " They pushing us, I'm going to whoop their ass"
and at 32:10 Hayes states "I'm going to whack their ass on my kids".

During the protest, Joshua Hayes was wearing a black t-shirt with red writing,
blue jean shorts, black Nike sandals, white socks, and a gold bracelet on his
right wrist. He has short cut hair. Hayes' DOT record shows him to be

tall, HM ccunds, eves and ae 2:

Joshua Hayes will be issued a Municipal Citation for Disorderly Conduct /
Disturbing the Peace

Disorderly Conduct by Jonathan Rogers

Officers Finely and Opelt both described in their reports a black male
protestor in a green shirt with black writing and blue jeans, who blew smoke in
P.O. Finley's face and b me threatening. I identified this subject to be
Jonathan J Rogers 9 7 /02). Rogers is on multiple videos pushing the line
of protestors from behind into the line of officers. Rogers appears to be
trying to cause a physical confrontation between protestors and

officers. Rogers disorderly behavior is seen in Lt Farina's body cam at
19:38:42, Adante Jordan's Facebook live at 7:40 mark, Jonathan Brostoff's
Facebook live part 1 at 40:45 mark, and Brandon Love's Facebook live at 14:08
mark.

During the protests, Regers is wearing a green t-shirt with black writing, blue
jeans, and has a medium afro. Rogers DOT record shows him to be Jj tall,

PR pounds, ia eyes and PE bai.

Rogers will be issued a Municipal Citation for Disorderly Conduct / Disturbing
the Peace.

Disorderly Conduct / Obstructing by Jayden Welch
Officer Grosenick described a protestor who pushed Grosenick's shield, which

 

 

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then struck him in the face. The protestor was described as a a
MMA slim, black t-shirt, blue jeans, blue face mask, green vest_with EMS
patch. I identified that protestor to be Jayden H Welch Gy} 05 fB/01). Welch
was captured on numerous video's claiming to be federally protected EMS.

On Lt Farina's body cam video at 19:38:48, Welch is seen pushing on the
backside of the line of protestors, into the line of officers, increasing

the likelihood of physical confrontation and injury to both. It was also
captured on Jonathan Brostoff's Facebook live part 1 at 40:58. Welch is also
on video blocking in a squad car on Isaiah Holmes' YouTube video at 14:22 and
P241 camera at 19:34.

During the protest, welch was wearing a maroon t-shirt, blue jeans, a green
chest patch with EMS patch, a blue surgical mask, and glasses. Welch's DOT

record shows him to be QF tall, Bl cencs, MMMM eyes and i hair.

Welch will be issued a Municipal Citation for Disorderly Conduct / Disturbing
the Peace/ Obstructing Police.

Obstructing by Sean Kafer

Officer Opelt described a white male protestor, wearing gray jeans, black
t-shirt, black and white bandana, who was organizing people to round Opelt's
squad. I identified this protestor to be Sean M Kafer 10 79). Kafer
is on Kim Dood's Facebook live video at 6:26 mark ee oe the cars,
get around the cars guys" while pointing at a squad. Multiple people did

so and surrounded the squads so they are unable to leave.

Kafer's direction to the protestors prevented officers from leaving and
escalated this incident.

During the protest, Kafer was wearing a black t-shirt, faded dark jeans, a
black baseball hat, a dark bandana as a face covering, and he is filming the
protest. Kafer's DOT record shows him to be mm tall and Ppounas, ma
hair, and i eves.

Kafer will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Khalil Coleman

During a review of the videos, I observed a subject I recognized to be Khalil
Coleman yy 07/f/ se) as one of the lead protestors. Coleman had a bullhorn
which he used to give orders to the crowd of protestors to surround the squads,
which they did. Coleman's orders were captured on Farina's body cam at
19:26:50 and Squad P241's camera at 19:24:22.

 

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Coleman's direction to the protestors prevented officers from leaving and
escalated this incident.

During the protest, Coleman was wearing a blue t-shirt, dark jeans, black
shoes, black bandana for a face covering, black bandana on his head. Coleman's

DOT record has him at tai, Za pounds, 7 eyes and i hair.

Coleman will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Andrew Simpson-Blaser

Officer Opelt described in his report a white male protestor who locked arms
with two female protestors in front of the squad, blocking the squad from
driving forward. The male was described as wearing an orange bucket hat and
black Packers/Brewers/Badgers t-shirt. I identified that male to be Andrew 0
Simpson-Blaser 3 2/MP 31) . Simpson-Blaser is on squad P241 video at 19:30
blocking the squad. Simpson-Blaser is also captured in Brandon Love's Facebook
live video at mark 14:10, in the second row of protestors. Simpson-Blaser is
pushing onto the back of protestor Charlotte Frazier, who is

pushing into Officer Yandre.

During the protest, Simpson-Blaser is wearing black pants, black shoes, a black
t-shirt (Brewers/Packers/Badgers combination logo), orange bucket hat, and a
black face covering. Simpson-Blaser’s DOT record has him at tall, 2
pounds, a hair and i cyes.

Simpson Blaser will be issued a Municipal Citation for Obstructing Police /
Disturbing the Peace.

Obstructing by Katherine Schaubel
Lt Beckman and Officers Pentimalli and Klett all described in their reports a
white female protestor with a bicycle who was blocking the back of a squad
during the protest. I identified that protestor to be Katherine E Schaubel
OT/ 92). She is captured on Lt Beckman's body camera beginning at

oor Dood's Facebook live at the 6:56 mark and Isaiah Holmes' YouTube
video at the 13:41 mark and 14:10 mark. Dood was told by multiple officers to
move and she did not comply.

During the protest, Schaubel was wearing a grey tank top, black shorts, blue
Surgical mask, sunglasses on her head, and had a grey Bianchi bicycle with a
rack on the back. Schaubel's DOT record has her at HE «211. pounds,

a hair and H:y::. .

Schaubel will be issued a Municipal Citation for Obstructing Police/ Disturbing
the Peace.

 

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Obstructing by Lisa Simmons

During review of the videos, I identified a black female protestor that
blocked the front of a squad car and also was arm in arm to block officers.
The female had a light complexion, was wearing a blue Sesame Street t-shirt,
blue pants, a red bandana as a face covering, and had her hair up in a bun. I
identified her to be Lisa M Simmons a. 01/4MMY87). Simmons is on squad

P241 video blocking in the squad starting at 19:24:36 and Adante

Jordan's Facebook live at the 4:23 mark.

Simmons' DOT record has her as PE e212, GM pounds, a hair and i

eyes.

Simmons will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Zachary Pick
During review of the videos, I identified a white male protestor that blocked
the back of a squad car. The protestor was identified to be Zachary T Pick
09/9/86) and he was wearing a red "New York" t-shirt, pink and grey
baseball hat, black face covering, tan shorts and a blue back pack. Pick is on
Kim Dood's Facebook live at 6:42 blocking the back of a squad and instructing
Kim Dood to film it. Pick is on Adante Jordan's Facebook live at 4:55 mark
blocking in the back of the squad. Pick is also on Lt Farina's body cam at
19:26:45 and he appears to be directing protestors to surround the squads. In
all the videos, Pick is pushing Alex Larson, who is in a wheelchair.

Pick's DOT record has him as tall, [pounds, a hair and eyes.

Pick will be issued a Municipal Citation for Obstructing / Disturbing the
Peace.

Obstructing by Alex Larson

During review of the videos, I recognized a white male protestor in a wheel
chair to be Alex A Larson PR 03/4/22) . Larson has been at numerous prior
protests and is an active participant in the protests. In some videos, Larson
propels himself in his wheel chair and in others he is pushed by other
protestors. Larson is on video accompanied by Zachary Pick blocking in the
back of a squad car. Larson is on Kim Dood's Facebook live starting at the
6:42 mark and Adante Jordan's Facebook live at the 4:55 mark blocking in the
squad.

During the protest, Larson is wearing a blue t-shirt, safety goggles, multi
colored face mask, tan shorts, black tennis shoes.

Larson's DOT record has him at a tall, i pounds, m7 hair and 7

 

 

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eyes.

Larson will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by M.Sayfuddin Amin

During the protest, I recognized a white male protestor to be M Sayfuddin A
Amin Ho Mss) - Amin is captured on video blocking in the rear of a squad
on Kim Dood's Facebook live video at the 9:37 mark and on Adante Jordan's
Facebook live at the 4:57 mark.

During the protest, Amin is wearing a white t-shirt, blue jeans, black shoes,
black body armor, blue surgical mask, sunglasses, and has ear length shaggy
brown hair.

Amin's DOT record has him at MP tali, Bpoenss. PE pa: and a

eyes.

Amin will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Kamila Ahamed

During a review of the videos, I identified a black female protestor to be

Kamila S Ahamed 04 92). Ahamed is captured on videos blocking in a
squad. She is on Squad P241 video at 19:33:57 and Adante Jordan's Facebook
live at the 5:26 mark.

During the protest, Ahamed is wearing black shorts, a black visor, a black
bandana face cover, a mulit colored "Nsync" t-shirt, and she has short reddish
died hair.

Ahamed's DOT record has her at tall, Z pounds, a hair and im

eyes.

Ahamed will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Gabriella Vitucci

During a review of the videos, I recognized a white female protestor to be
Gabriella M Vitucci Gos M00). Vitucci is captured on multiple videos
blocking in the front of a squad car. She is on Lt Farina's body cam starting
at 19:36:18, Adante Jordan's Facebook live at 4:23, and squad P241

camera starting at 19:31.

During the protest, Vitucci is wearing a tie-dye t-shirt, black short, black
face mask, black purse, and white sandals. Her hair appears to be died blonde
and is pulled back.

 

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Vitucci's DOT record has her at tall, Pe ouncs, RR nai and i
eyes.

Vitucci will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Brandon Wilborn

During a review of the videos, I recognized a black male protestor to be
Brandon R Wilborn Wo? M01) - Wilborn is captured on Kim Dood's Facebook
live video instructing the crowd of protestors to surround the squad cars at
the 1:14 mark and on Lt Farina's body cam at 19:26:54.

During the protest, Wilborn is wearing a black t-shirt with red writing, black
Adidas shorts with white writing, white and black tennis shoes, a black bandana
face cover and a black bandana hair cover.

Wilborn's DOT record has him at PR a1. a pounds, 7 hair and 7

eyes.

Wilborn will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Obstructing by Kimberly Dood

During review of the video, I recognized a white female protestor to be
Kimberly E Dood mm 04/9/37) - Dood is captured on multiple videos blacking
in a squad car. She is on Lt Beckman's body cam at 19:33:29, her own Facebook
live at 6:46, and squad P241 video at 19:24:39. Dood appears to refuse to move
until pushed back away from the squad by officers.

During the protest, Dood is wearing a dark t-shirt, dark blue jeans, a black
back pack, and a blue face mask, she has shoulder length straight hair.

Dood's DOT record has her at a tall, pounds, a. hair and PBeves.

Dood will be issued a Municipal Citation for Obstructing Police / Disturbing
the Peace.

Threats towards media by Rebecca

Squad video P241

Squad P241's camera was recording throughout the incident. It shows the
protestors surrounding the squad at 19:24. Officers attempted to clear the
area around the squad at 19:36 and met resistance. At 20:11, the squad was
able to be backed out and away from the protestors.

 

 

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Incident Report Number Incident Location: incidant Date:
20-016413 Harwood Av/W State St, Wauwatosa, WI, 53213 09/03/2020

20-16398,

During the protest / incident, Det. Kastner had contact with a 2011 black Ford
Escape with Wisconsin registration AFF-8780. See Det. Kastner's supplemental
report for additional details, Case# 20-16412. The Ford Escape had tape placed
over the license plate making it unreadable. It also had a flag attached to the
rear driver side door area. The tape was removed and Det. Kastner took photographs
and video of the vehicle. I observed the photographs and video of the vehicle and
identified it as the vehicle that fled from me. Det. Kastner observed the driver
of the vehicle and identified him as Adante D. Jordan i 7- fp} 1975) ;

A WI DOT records check of the license plate observed on the vehicle, AFF-8780,
showed it listed to Adante D. Jordan J, 7-9§#75) with an address of

St. Milwaukee, WI. contact with Jordan was attempted via phone but the line
was disconnected. The phone number used was Re ch was retrieved from
our in house records.

Det. Kastner also had contact with a silver Jeep Patriot with Wisconsin
registration 403-UYC. Det. Kastner recognized the driver as Joseph R. Koepp. Video
and pictures of the Jeep and Koepp were taken by Det. Kastner. See Det. Kastner's
supplemental report for additional details.

Arrest

On 9-4-2020, Jordan and Koepp arrived at the Wauwatosa Police Department to pick
up the flag that had been recovered by Sgt. Wood, Case# 20-16412. While in the
lobby, Det. Kastner identified Koepp as the suspect in this case and placed him
under arrest. Det. Kastner also recognized Jordan and served both citations in
person regarding this case. Jordan also received three other citations, reference
case# 20-16412 and 20-16398.

See Det. Kastner's supplemental report for additional details.
Disposition

Jordan was issued a Wauwatosa Municipal Traffic Citation for Owner's Liability
Flee/Elude an Officer and another Wauwatosa Municipal Traffic Citation for
Obstructed License Plate. Both citations have a non-mandatory court date of
10-21-2020 / 5:00 PM at the Wauwatosa Municipal Courthouse.

I am referring charges of Felony Eluding / Fleeing an officer and Misdemeanor
Obstruct an Officer to the Milwaukee County District Attorney's Office against
Joseph R. Koepp.

 

 

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that incident, Det. Kastner had contact with a

(see Det. Kastner's supplement). The vehicle had tape over its license plate and
flags attached to its rear doors. The tape on the license plate was removed. Det.
Kastner took photos and video of the vehicle. I reviewed the photos and video of
the vehicle and I'm certain that it is the same vehicle that fled from me. Det.
Kastner observed the driver of the vehicle during the protest and identified him
as Adante D. Jordan 7 7-75) - Det. Kastner observed the vehicle leaving the
area and it appeared that there was new tape covering the license plates.

  
 
 

A WI DOT records check of BE 22.0 it listed to a
The listed owner was Adante D. Jordan 1-5) of

I attempted contact with Jordan via the phone number listed for him
through our in house records of ee ~ it was disconnected.

 

Disposition

Jordan was issued a municipal citation for Owner's Liability Flee/Elude an Officer
and having an Obstructed License Plate with a court date of 10/21/20,

 

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